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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

STEPHEN KNUTH,

               Plaintiff,

v.                                                    CASE NO: 3:16-cv-00719-TJC-JRK

CITIBANK, N.A.,

               Defendant.
                                                  /


                            NOTICE OF PENDING SETTLEMENT

       Plaintiff, Stephen Knuth, pursuant to Middle District of Florida Local Rule 3.08(a),

hereby submits this Notice of Pending Settlement and states the parties have reached a settlement

in principle with regard to this case and are presently drafting, finalizing, and executing the

formal settlement documents.     Upon full execution of the same, the parties will file the

appropriate dismissal documents with the Court.



                                                           Respectfully Submitted,

                                                           DAVIS LAW FIRM

                                                           /s/ Todd M. Davis
                                                           TODD M. DAVIS, ESQ.
                                                           FL BAR NO. 58470
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                              CERTIFICATE OF SERVICE



              I HEREBY CERTIFY that on August 12, 2016, I e-filed this document using the

CM/ECF system. I further certify that I am unaware of any non-CM/ECF participants.



                                                        /s/TODD M. DAVIS
                                                        Todd M. Davis




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